Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 1 of 26 PageID: 245



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,                   HON. JEROME B. SIMANDLE

      v.                                    Criminal No. 04-269 (JBS)

NADINE HOMICK-VAN BERRY and
CLINTON VAN BERRY,                          OPINION

                  Defendants.


APPEARANCES:

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SIMANDLE, District Judge:

     Clinton Van Berry and his wife, Nadine Homick-Van Berry,

have been charged together in a four count indictment

(“Indictment”) with (a) conspiracy and attempt to obstruct

commerce through robbery (Counts 1 and 2); and (b) bribery and

conspiracy to commit bribery concerning a federally funded
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 2 of 26 PageID: 246



program (Counts 3 and 4).      The issue presented here is whether a

single trial before one jury would afford them each a fair trial.

For the following reasons, the Court concludes that it would not

– Counts 1 and 2 must be severed from Counts 3 and 4.1

I.   BACKGROUND

     The following events have given rise to the charged counts.

     A.    Bribery and Conspiracy to Commit Bribery – Counts 3 & 4

           1.     2002 West Cape May Sewer Replacement Program

     According to the Indictment and the brief of the Government,

on or about April 17, 2002, the Borough of West Cape May, New

Jersey (“West Cape May” or the “Borough”) awarded a sewer

contract for the Borough’s 2002 Sewer Replacement Program (“Sewer

Replacement Project”).      The Sewer Replacement Project was

designed to replace the deteriorating terra cotta sewer pipes on

five streets from Broadway to Park Boulevard.            The events

preceding the award of that contract are what the Court is

concerned with here.

     Roughly six months before the Borough awarded the Sewer

Placement Project contract, Mrs. Van Berry allegedly approached a

longtime acquaintance, a contractor who owned an excavating and

contracting business that, in part, installed sewer drainage and

water mains (“Contractor”).       She allegedly informed him that she


     1
      Mr. and Mrs. Van Berry also seek severance of defendants
on the first two counts. For the reasons expressed below, that
request will be denied.

                                       2
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 3 of 26 PageID: 247



would be able to provide him with the Engineer’s Estimate of

Construction Costs for the Borough’s Sewer Replacement Program

(“Engineer’s Estimate”).2      In turn, Mrs. Van Berry allegedly

demanded that in the event the Contractor successfully bid on the

project, he would share a percentage of his contract.              Unbeknown

to Mrs. Van Berry at the time, the Contractor was an F.B.I.

cooperator.

     Subsequently, in the Fall of 2001, Mr. Van Berry allegedly

approached the Mayor of West Cape May.          Mr. Van Berry and the

Mayor were acquainted with one another through Mr. Van Berry’s

previous employment with the Borough of West Cape May.              At the

time of the meeting, Mr. Van Berry was employed by the City of

Atlantic City, New Jersey as the Assistant Municipal Tax

Collector.    In that capacity, Mr. Van Berry was responsible for

handling the daily receipts of the tax office and preparing them

for deposit to the bank.

     During the meeting with the Mayor, Mr. Van Berry allegedly

suggested that if the Mayor assisted him in obtaining the

Engineer’s Estimate, there would be an “envelope” in the mail.

Feeling that he was being bribed, the Mayor contacted the Federal

Bureau of Investigation (“F.B.I.”).         According to the Indictment,


     2
      The Engineer’s Estimate consists of nonpublic information
which details projected costs associated with a particular
construction project. The Engineer’s Estimate, therefore, would
be of benefit to any contractor in terms of providing an
advantage in formulating a bid amount for a particular project.

                                       3
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05    Page 4 of 26 PageID: 248



from October 2001 to April 4, 2002 (shortly before the Borough

awarded the contract), Defendants allegedly continually attempted

to bribe the Mayor for the Engineer’s Estimate for the Sewer

Replacement Project.      Moreover, they allegedly exerted force on

the Contractor to bid on the project. However, because the

Contractor was unable to obtain a performance bond, he never

submitted a bid.

           2.     2003 West Cape May Sanitary Sewer and Water Main
                  Improvement Program

     In January of 2002, West Cape May began efforts to obtain

funding for its Sanitary Sewer and Water Main Improvement

Program, a project designed to replace the sanitary sewer line

from Learning Avenue to Broadway (“Sewer and Water Main

Project”).3     According to the Indictment, Mr. Van Berry offered

the Mayor a bribe in exchange for the Engineer’s Estimate for

this project.     Defendants then allegedly sought a percentage of

the contract from the Contractor in the event that the Contractor

made a successful bid.

     On July 25, 2003, the Contractor allegedly gave Mrs. Van

Berry $2,000 in cash to give to the Mayor.              According to the

Indictment, on August 1, 2003 Defendants gave $500 to the Mayor,

informing him that the Contractor had only given them that



     3
      Roughly one year later, on January 31, 2003, West Cape May
formally sought, and eventually received, federal funding for the
Sewer and Water Main Project.

                                       4
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 5 of 26 PageID: 249



amount.     Meanwhile, Mrs. Van Berry told the Contractor that she

and her husband had given the full $2,000 to the Mayor.               The

following day, the Mayor informed Mrs. Van Berry that he would

not provide her with the Engineer’s Estimate for $500.              On August

8, 2003, Mrs. Van Berry met with the Mayor, allegedly to persuade

him otherwise.     He refused and, on August 11, 2003, she allegedly

demanded that he return the $500.

     B.      Atlantic City Robbery – Counts 1 & 2

     Later that year, on December 1, 2003, Mrs. Van Berry again

allegedly solicited the Contractor to participate in criminal

conduct.     This time, however, the plot had nothing to do with

bribing the Mayor of West Cape May.         This plan involved robbing a

courier who would be carrying the proceeds from a tax sale

conducted by the Tax Collector of the City of Atlantic City.

     As with most municipalities, the residents and businesses

located within Atlantic City are required to pay real estate

taxes on a quarterly basis.       The taxpayers typically pay this tax

in cash or with money orders or checks made payable to Atlantic

City.     Those payments are submitted directly to the tax office in

City Hall.     If, however, a property owner fails to make a timely

payment, Atlantic City will issue a tax sale notice advising

that, unless the taxes are paid by the date of the sale, the

property will be sold and the proceeds used to pay the delinquent

amount.     Following the sale, the City utilizes the services of a


                                       5
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 6 of 26 PageID: 250



courier to deliver the tax receipts to its depository bank

located a few blocks from City Hall.         As the Assistant Municipal

Tax Collector of Atlantic City, Mr. Van Berry was intimately

familiar with the details surrounding such tax sales.

     According to the Indictment, Mr. Van Berry conspired with

Mrs. Van Berry to rob the courier who would be delivering the

proceeds from the December 15, 2003 tax sale to the depository

bank.   Specifically, Defendants allegedly agreed that when the

courier left City Hall with the tax sale proceeds, Mr. Ven Berry

would call Mrs. Van Berry and ask her how her tooth was feeling.

That language was allegedly intended to convey to Mrs. Van Berry

that the courier had left City Hall.         According to the

Indictment, Mrs. Van Berry would then notify the Contractor who

she believed would then rob the courier.

     Mrs. Van Berry relayed this plan to the Contractor, who led

her to believe that he had secured the aid of an accomplice in

carrying out the plot.      To this end, the Contractor gave Mrs. Van

Berry a disposable cellular telephone which she was to use to

advise the accomplice when the courier had left City Hall.               As

alleged in the Indictment, it was further part of the conspiracy

that she instructed the Contractor, after he robbed the courier,

to take the cash and to burn the remaining items.

     On December 16, 2003, Mr. Van Berry allegedly called the

courier’s co-worker to inform him that the tax payments from the

previous day’s tax sale were ready for deposit.             Shortly

                                       6
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 7 of 26 PageID: 251



thereafter, as planned, he allegedly called his wife and, through

the coded language, signaled to her that the courier had left

City Hall.    At 1:54 that afternoon, Mrs. Van Berry called the

individual she believed to be the Contractor’s accomplice and

stated:   “I said go now.”     Unbeknown to her at the time, the

individual on the phone was an undercover law enforcement agent.

     C.     Procedural History

     Following the arrests of Mr. and Mrs. Van Berry, a Grand

Jury sitting in Camden returned a four count criminal indictment

charging each Defendant with conspiracy to obstruct commerce by

robbery, 18 U.S.C. § 1951(a) (Count One); attempt to obstruct

commerce by robbery, 18 U.S.C. § 1951(a) (Count Two); conspiracy

to commit bribery concerning a federally funded program, 18

U.S.C. § 371 (Count Three); and bribery concerning a federally

funded program, 18 U.S.C. §§ 666(a)(2) and 2 (Count Four).               Thus,

the Indictment charges the Atlantic City tax heist in Counts One

and Two, and the West Cape May bribery scheme in Counts Three and

Four.

     Defendant Clinton Van Berry made a number of pre-trial

motions which Mrs. Van Berry has joined.           The Court held a

hearing on January 10, 2005 at which time the Court heard oral

argument.    The Court rendered an Oral Opinion at that time,

reserving decision only as to the motion to sever counts and

defendants.    (See 1/19/05 Order.)        That severance motion is the

subject of this Opinion.

                                       7
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 8 of 26 PageID: 252



II.   DISCUSSION

      A. Rule 8(b) Joinder

      In cases involving multiple defendants, such as this one,

the propriety of joinder must be tested under Rule 8(b) of the

Federal Rules of Criminal Procedure, and Rule 8(a), Fed. R. Crim.

P., has no application.      See United States v. Irizarry, 341 F.3d

273, 287 (3d Cir. 2003); United States v. Eufrasio, 935 F.2d 553,

567 (3d Cir. 1991).      Rule 8(b) provides:

      The indictment or information may charge 2 or more
      defendants if they are alleged to have participated in
      the same act or transaction, or in the same series of
      acts or transactions, constituting an offense or
      offenses. The defendants may be charged in one or more
      counts together or separately. All defendants need not
      be charged in each count.

Rule 8(b), Fed.R.Crim.P.

      Here, the Government has not charged an overarching

conspiracy, spanning the West Cape May and Atlantic City conduct.

Instead, Defendants are each alleged to have participated in two

distinct conspiracies – conspiracy to obstruct commerce by

robbery, and conspiracy to commit bribery concerning a federally

funded program.     Because “[s]eparate and distinct conspiracies

cannot be joined together and prosecuted as a single conspiracy”

under Rule 8(b), joinder here of all four charged offenses is not

proper.   1A Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 144 (3d ed. 1999) (and cases cited

therein).


                                       8
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 9 of 26 PageID: 253



     The Government here tries to overcome the lack of connection

between the charged crimes by arguing that “all of the counts

spring out of a common scheme and plan to corrupt the system . .

. by taking advantage of publicly entrusted positions.”               (Govt.

Br. at 7, 10.)     This argument is tenuous.        In the first instance,

the “system” referred to by the Government encompasses two

separate municipalities – Atlantic City and West Cape May.

Similarly, the positions of power which defendants allegedly

exploited are wholly unrelated.

     To be sure, courts have upheld joinder of offenses on the

theory that the defendant used his position of power to commit

multiple crimes.     In United States v. Thomas, for example, the

Third Circuit affirmed the district court’s refusal to sever any

of the thirty-one counts charged against a single defendant where

“[a]ll of the counts alleged that Thomas used his position as

bank president to gain access to records and accounts and to

misappropriate funds from the bank.”         610 F.2d 1166, 1169 (3d

Cir. 1979).    In that case, the defendant, Donald Thomas, was

charged with various offenses arising out of his employment as

president of the First National Bank of Carbondale, Pennsylvania.

 Thomas was convicted after a jury trial of seven of the thirty-

one charged counts.      All but one of the counts upon which Thomas

was convicted charged that as bank president he knowingly, and

with the intent to defraud the bank, misapplied funds that had


                                       9
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 10 of 26 PageID: 254



been paid to the bank in violation of 18 U.S.C. § 656 (1976).4

      The Third Circuit affirmed the trial court’s conclusion that

“all of the counts involved actions allegedly taken by Thomas ‘in

contravention of his duties as a bank officer and which injured

and defrauded the bank,’ and thus were of a ‘sufficiently similar

character to permit their joinder under (Fed.R.Crim.P) 8(a).’”5

Id. at 1169 (citations omitted).            The court reasoned that

      [e]ach count alleged that Thomas used his position as
      bank president to gain access to and to alter bank
      records and accounts, and to misappropriate bank funds.
      And the various counts involved transactions that all
      occurred within an eighteen-month period of time.
      Thus, because each offense charged was similar in
      character to the others, initial joinder of the counts
      was permissible under Rule 8(a).

Id.

      The instant case is easily distinguishable.            Here, unlike

Thomas, the Government does not argue that the defendants took

advantage of a single position of authority to commit the crimes

charged.    Rather, the Indictment alleges that Defendants used Mr.

Van Berry’s position as Assistant Municipal Tax Collector to



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      Counts two through four alleged that the defendant caused
bills submitted by Talarico Construction Company to be inflated.
Count nine charged the defendant with misapplying funds that had
been paid to the bank by one of its debtors, William Fendrock.
Finally, counts ten and eleven charged that Thomas had misapplied
funds by excessively charging the bank’s discount installment
loan account.
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      The court additionally upheld the district court’s
determination that joinder of the charged offenses was not unduly
prejudicial under Rule 14, Fed.R.Crim.P.

                                       10
Case 1:04-cr-00269-JBS   Document 54    Filed 05/18/05   Page 11 of 26 PageID: 255



perpetrate the Hobbs Act robbery and, quite separately, that they

took advantage of the Mayor’s position to carry out the bribery.

Indeed, as to the crimes charged in Counts 3 and 4, the

Government does not argue that their commission depended in any

way on Mr. Van Berry’s employment status with Atlantic City.                 In

fact, Mr. Van Berry knew the Mayor by way of Mr. Van Berry’s

“former employment with the borough” of West Cape May.                (Govt.

Br. at 2 (emphasis added).)       Conversely, Defendants’ relationship

with the Mayor is alleged to have played no part in the attempted

robbery charged in Counts 1 and 2.

      Instead, the Government suggests that a fundamental link

between the charged crimes is the Defendants’ relationship with

the Contractor.     Specifically, the Government contends that

“[t]he Indictment reflects that the defendants’ robbery scheme

followed in part from the bribery scheme because of the

connection and relationship of trust with the

‘Individual’/‘Contractor,’ the government’s primary cooperating

witness.”    (Govt. Br. at 12.)        That the same participants were

involved in crimes of a separate nature, however, (or at the very

least that the defendants believed the same participants were

involved in separate crimes) is not sufficient to connect

otherwise distinct crimes.       For if it were, seldom would joinder

of distinct offenses in multi-defendant prosecutions be improper

under Rule 8(b).


                                       11
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 12 of 26 PageID: 256



      In any event, the “connection and relationship of trust”

between Defendants and Contractor on which the Government relies

does not connect the charged crimes for Rule 8(b) purposes.                As

the Government notes, the Contractor was a “longtime

acquaintance” of Mrs. Van Berry.            That longtime acquaintances may

attempt to commit multiple crimes together, however, does not

cause those illegal acts to be otherwise connected to each other

into an overarching, uncharged scheme.

      The Government’s reliance on United States v. Turoff, 853

F.2d 1037 (2d Cir. 1988), is also misplaced.            That case involved

the question of whether “it is impermissible to join in a single

indictment multiple offenses involving tax and mail fraud schemes

charged against the several defendants.”           Id. at 1039.      There,

three defendants (Jay Turoff and Alan and Harriet Silver) were

charged in one indictment with “two fraudulent schemes” – (1) a

plan to “exploit Turoff’s power as the New York City Taxi and

Limousine Commission Chairman to foster the production and

marketing of an electronic meter for New York City medallion

taxicab – the basis for the mail fraud charges” – and (2) an

arrangement to obtain accounts at Hyfin Credit Union (“Hyfin”)

which provided the appellants with the opportunity to earn

substantial taxable interest which Hyfin did not report to the

IRS and which they did not declare as income on their tax returns

– the basis for the tax charges.


                                       12
Case 1:04-cr-00269-JBS     Document 54   Filed 05/18/05   Page 13 of 26 PageID: 257



      The scheme originated when Turoff opened an account and

obtained a loan from Hyfin.         Turoff would makes deposits into the

account but never reported to the I.R.S. the income generated

therefrom.    Edmund Lee, Hyfin’s treasurer, also permitted Turoff

to deduct as interest expense the payments he made on Hyfin

loans.    In return for these benefits, Turoff provided to Lee

confidential information regarding the lists of medallion taxi

owners in New York to, thereby enabling Lee to review and approve

loan application by taxi owners more quickly than competing loan

institutions.

      Several years later, Turoff was approached by two developers

with a prototype electronic taxi meter.             Turoff described the

design to his friend, Hy Schwartz, and prodded him to develop a

competing model.         Turoff guaranteed Schwartz a market by

requiring installation of the meters in every New York City

medallion taxi cab.         Schwartz in turn approached Turoff’s

friends, the Silvers, to finance the project.               Schwartz and the

Silvers ultimately formed a company which successfully developed

an electronic taxi meter.         Shortly thereafter, the Taxi

Commission tested and unanimously approved their prototype.

      Subsequently, Turoff brought Alan Silver to Hyfin’s offices

to see Lee about the prospect of opening a non-reported interest

account which would expedite the processing of loans for the

medallion project.         An account was then opened and Lee agreed to


                                         13
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 14 of 26 PageID: 258



advance funds to the Silvers to finance the production costs of

the meters in return for a “commission” of $100 per meter.                After

ordering all medallion taxis to install the meters, and

anticipating the sale of 3,000 meters, Turoff then demanded and

received a kickback if $10 per meter.

      The Indictment charged Turoff and the Silvers with various

counts of mail fraud relating to the meter scheme as well as a

number of tax charges.       Following a jury trial, Turoff and the

Silvers were found guilty of conspiracy to defraud the United

States in collection of tax revenues and for filing false tax

returns.    The issue before the court was whether initial joinder

of those offenses was permissible under Rule 8.             In holding that

joinder was proper, the court noted that

      there is a key link between the two offenses – one
      scheme stemmed from the other – and that link provides
      a sound basis for joinder under rule 8(b). Appellants
      and their cohorts manipulated the Hyfin accounts
      simultaneously to advance the [meter] scheme and to
      accumulate unreported income. The acts involved in
      each scheme have more than a temporal and spatial
      relationship. Significantly, the tax fraud hinged on
      the fraudulent activities taken to advance the [meter]
      scheme. Consequently, proof of one scheme is
      indispensable for a full understanding of the other.

Id. at 1044.6     Similarly, “[f]rom the inception of his


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      The court there further recognized that the financial
benefits derived from the quid pro quo relationship “were part
and parcel of the tax fraud.” Turoff, 853 F.2d at 1044. The
court ultimately held that “applying a commonsense rule to these
facts, we conclude that a reasonable person would easily
recognize the common factual elements that permit joinder of the
mail fraud charges and the tax fraud charges in one indictment.”
Id. For the reasons discussed below, commonsense dictates a
contrary conclusion in this case.

                                       14
Case 1:04-cr-00269-JBS   Document 54    Filed 05/18/05   Page 15 of 26 PageID: 259



relationship with Lee, Turoff’s budding misuse of his position as

Taxi Commission Chairman and his unreported Hyfin account income

went hand in hand.”      Id.

      Turoff is distinguishable from the facts of this case.

First, no link exists here between the crimes charged other than

that the same participants were allegedly involved.               As discussed

above, however, that by itself is insufficient to make joinder

appropriate where the two crimes are distinct from one another by

nature.    Moreover, whereas Turoff misused his position as Taxi

Commission Chairman to commit both the tax and mail fraud crimes,

the Government here only alleges that Mr. Van Berry abused his

position of authority to commit the robbery.             The most the

Government here can say is that “it certainly was to the

defendants’ benefit that defendant Clinton Van Berry once worked

in that office [of the Mayor of West Cape May] and knew the

current mayor for some time.”          (Govt. Br. at 12.)       That

statement, though, in no way connects the bribery to the robbery

and, thus, is insufficient to satisfy the joinder requirements of

Rule 8.

      For the above reasons, Counts 1 and 2 have been improperly

joined with Counts 3 and 4 and will be severed for separate

trials.




                                       15
Case 1:04-cr-00269-JBS    Document 54   Filed 05/18/05   Page 16 of 26 PageID: 260



      B.    Prejudicial Joinder:        Rule 14(a) Severance

      Defendants additionally seek severance of defendants as to

Counts 1 and 2.     Defendants do not argue that joinder of those

counts is improper under Rule 8.             Rather, they maintain that the

introduction of certain of Mr. Van Berry’s post-arrest

extrajudicial statements by the Government could potentially

violate Mrs. Van Berry’s Sixth Amendment rights and, thus, would

be unfairly prejudicial under Rule 14.7

      Where defendants are properly joined, there is a strong

presumption that the trial of the matters will go forward as a

joint trial.     See Richardson v. Marsh, 481 U.S. 200, 209 (1987)

(observing joint trials “play a vital role in the criminal

justice system”).        Notwithstanding this presumption, courts have

discretion to sever separate offenses if joinder would result in

prejudice to the defendant.8        See United States v. Eufrasio, 935

F.2d 553, 568 (3d Cir.), cert. denied sub nom. Idone v. United




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      The Government has made clear that it will not seek to
introduce any statement made by Mrs. Van Berry.
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      It should be noted that severance of offenses under Rule
14(a) in cases where joinder is proper is not a practice favored
by courts. See United States v. Pierce, 733 F.2d 1474, 1477
(11th Cir. 1984) (“Joinder is favored for reasons of judicial
economy.”) Indeed, there have not been many cases in which
courts have granted a defendant such relief. 1A Charles Alan
Wright & Arthur R. Miller, Federal Practice and Procedure § 222
(3d ed. 1999).

                                        16
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 17 of 26 PageID: 261



States, 502 U.S. 925 (1991).       Rule 14(a), Fed. R. Crim. P.,

provides:

      If the joinder of offenses or defendants in an
      indictment, an information, or a consolidation for
      trial appears to prejudice a defendant or the
      government, the court may order separate trials of
      counts, sever the defendants’ trials, or provide any
      other relief that justice requires.

To obtain severance, a defendant must demonstrate that “there is

a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence.”               Zafiro v.

United States, 506 U.S. 534, 539 (1993) (considering whether

severance of defendants was required under Rule 14); see United

States v. Rodriguez, 2002 U.S. App. LEXIS 24628, at *30-31 (3d

Cir. Dec. 5, 2002) (unpublished opinion) (relying on Zafiro in

upholding the denial of severance of offenses).

      Here Mrs. Van Berry argues that severance is required so as

to preserve her Sixth Amendment right to confrontation.

“Ordinarily, a witness whose testimony is introduced at a joint

trial is not considered to be a witness ‘against’ a defendant if

the jury is instructed to consider that testimony only against a

codefendant.”     Richardson v. Marsh, 481 U.S. 200, 206 (1987).

The Supreme Court has carved out a “narrow exception” to that

rule, however, in cases where the proffered statement “expressly

implicat[es]” the co-defendant and where the defendant who

uttered the statement does not testify.           Bruton v. United States,

                                       17
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 18 of 26 PageID: 262



391 U.S. 123, 126 n.1 (1968).9 In other words, “a defendant is

deprived of his Sixth Amendment right of confrontation when the

facially incriminating confession of a nontestifying codefendant

is introduced at their joint trial, even if the jury is

instructed to consider the confession only against the

condefendant.”     Marsh, 481 U.S. at 207.        The Bruton rule will

apply where there is not the “slightest doubt . . . at the time

[the] confession was introduced . . . that it would prove

‘powerfully incriminating.’” Richardson, 481 U.S. at 208 (quoting

Bruton, 391 U.S. at 135).       “When a codefendant’s extrajudicial

statement does not directly implicate the defendant . . . the

Bruton rule does not come into play.”          United States v. Belle,

593 F.2d 487, 493 (3d Cir. 1979) (en banc).

      In Richardson, the Court held the Bruton rule did not apply

because the defendant’s confession “was not incriminating on its

face, and only became so when linked with evidence introduced

later at trial (the defendant’s own testimony).”             481 U.S. 208.

There, two defendants were charged with assault and double



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      In Bruton, a witness testified at a joint trial that one of
the defendants, Evans, orally confessed to committing an armed
robbery with his co-defendant (petitioner). The Court held that
“because of the substantial risk that the jury, despite
instructions to the contrary, looked to the incriminating
extradjudicial statements in determining petitioner’s guilt,
admission of Evans’ confession in this joint trial violated
petitioner’s right of cross-examination secured by the
Confrontation Clause of the Sixth Amendment.” Bruton, 391 U.S.
at 126.

                                       18
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 19 of 26 PageID: 263



homicide.      At trial, the State introduced a post-arrest

confession by one of the defendants, Williams, which was redacted

so as to omit any reference to the co-defendant, Marsh – indeed,

the statement did not indicate that anyone other than Williams

and Marsh’s boyfriend had participated in the crime.10              Later on

at trial, though, Marsh himself testified in such a way that,

despite the redacted confession, “the defendant [was] nonetheless

linked to the confession . . . .”           Id. at 202.    The Court

concluded that the Bruton rule was inapplicable, reasoning that

where “the necessity of such linkage is involved,” the jury is

more likely to obey the court’s instruction to disregard the

incriminating inference contained in the statement.              Id. at 208.

      Here, the extrajudicial statement which the Government seeks

to introduce against Mr. Van Berry is, by itself, benign.11 The

substance of that statement is that Mr. Van Berry told F.B.I.

agents that he called his wife on the morning of the robbery to

ask about a tooth which had been bothering her.             Moreover, Mr.

Van Berry stated to the agents that he had no knowledge that his

wife participated in the robbery of the courier.             Without more,

these statements are not “powerfully incriminating” against Mrs.




      10
           Marsh’s boyfriend, Martin, was a fugitive at the time of
trial.
      11
       Following a suppression hearing on January 10, 2005, this
Court denied the motion to suppress Mr. Van Berry’s pre-arrest
statements.

                                       19
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 20 of 26 PageID: 264



Van Berry and, thus, do not present Bruton problems.12

      In United States v. Rubio, 709 F.2d 146 (2d Cir. 1983), a

similar issue was before the court when the Government sought to

introduce a defendant’s extrajudicial statement only as against

him at a joint trial.       There, Concepcion (Carol) Rubio and

Richard Rosado were arrested at a hotel where they had arranged a

meeting with undercover DEA agents posing as potential narcotics

sellers.    During that meeting, Ms. Rubio showed one of the agents

a triple beam scale, a device often used by narcotics traffickers

to measure cocaine in grams, as well as a bottle of Clorox

bleach, often used to test cocaine.          Following the arrests, the

agents seized from Ms. Rubio the scale and the Clorox.               When

asked why he was at that hotel, Rosado replied that “he was there

for a weekend vacation with his wife.”           Id. at 148.     When the

officers questioned him about the triple beam scale and bottle of

Clorox seized from Rubio, he responded that “his wife was

planning to do some cooking and cleaning over the weekend at the


      12
       Defendants also object to the admissibility of Mr. Van
Berry’s statement under Crawford v. Washington, 541 U.S. 36
(2004). There, the State sought to introduce against the
defendant his wife’s out-of-court statement, made during a police
interrogation, where his wife was unavailable to testify at
trial. The Court held that admission of that statement violated
the defendant’s Sixth Amendment right to confrontation. Here,
however, as the discussion below illustrates, Mr. Van Berry’s
statement will not be introduced against Mrs. Van Berry – indeed,
the Court will instruct the jury to completely disregard that
statement as to her. For these reasons, Crawford does not
prevent the admission of Mr. Van Berry’s statement at a joint
trial.

                                       20
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 21 of 26 PageID: 265



hotel.”    Id.    Rubio objected to the admission of these statements

under Bruton, arguing that if the jury found these statements to

be false, the jury could infer that they were made to conceal her

own improper conduct.

      In permitting the Government to introduce Rosado’s

statement, the court held that

      Rosado’s statements clearly were not inculpatory as to
      Rubio; nor is this a case where a defendant has
      attempted to shift blame to a co-defendant. Moreover,
      nothing new or incriminating was presented to the jury
      which had not already been presented through the
      testimony of [the DEA agent] who testified with regard
      to Rubio’s presence at the [hotel] and the fact that
      she had shown him both the scale and the bottle of
      Clorox. Therefore, since we find Rosado’s statements
      as to Rubio to be non-inculpatory, we see no reason why
      the jury could not have received the evidence without
      an impermissible taint affecting their judgment.
      Furthermore, the limiting instructions given were
      sufficient to cure any prejudice to Rubio which may
      have been caused by admitting Rosado’s statements into
      evidence.

Id. at 155.      See United States v. Lopez-Lopez, 282 F.3d 1, 13

(1st Cir. 2002) (holding statement by defendant to co-defendant

to remain silent during their arrest, though “tend[ing] to be

incriminating,” not powerfully incriminating so as to fall within

the scope of Bruton); United States v. Johnson, 297 F.3d 845, 856

(9th Cir. 2002) (admitting certain of defendant’s extrajudicial

statements at a joint trial where “none of the conversations

involved a confession of guilt implicating” the co-defendant);

United States v. Espinoza-Seanez, 862 F.2d 526 (5th Cir. 1988)

(holding Bruton rule inapplicable to statement by defendant that

                                       21
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 22 of 26 PageID: 266



he agreed to make a phone call and to then go meet an

unidentified man who would help transport marijuana).

      Here, like in Rubio, the statement at issue does not by

itself incriminate the co-defendant.          To be sure, the statement

about Mrs. Van Berry’s tooth is probative because, as the

Government maintains, it allegedly is coded language conveying

that the target of the charged robbery was en route to the bank

with the money.     However, the statement’s allegedly “true”

meaning is not apparent without reference to other evidence.                As

the Supreme Court has made clear, it is that necessary “linkage”

which takes a statement outside the scope of the Bruton rule.

Marsh, 481 U.S. at 208.       The statement is only a first step on a

path of inference of incrimination of Mrs. Van Berry if combined

with other admissible evidence of the circumstances of the phone

call.    As in Marsh, supra, there is no reason to believe that the

jury would disregard the Court’s limiting instruction that it

ignore any incriminating inference as against Mrs. Van Berry

arising from this statement.

      Indeed, the Government maintains that Mr. Van Berry also

stated that he had no knowledge that his wife was involved, if at

all, in the charged robbery.       Far from incriminating, that

statement on its face removes Ms. Van Berry from the robbery at

issue.    Like in Rubio, that the statement may later prove to be

false does not change that it is not powerfully incriminating on


                                       22
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 23 of 26 PageID: 267




its face.    Rubio, 709 F.2d at 154.13 Finally, that Mr. Van Berry

telephoned his wife on the morning of the robbery is not

powerfully incriminating as to Mrs. Van Berry, especially

considering that the Government has indicated it will seek to

introduce phone records establishing that a telephone call was

placed from him to her at the indicated time.             The Court thus

holds that Clinton Van Berry’s statement is not powerfully

incriminating of Nadine Homick-Van Berry, and it may be

introduced at the joint trial on Counts 1 and 2, with an

instruction to the jury that it may consider this statement only

against him, consistent with Bruton and Marsh.

      Defendants also argue that severance of defendants is

required as to Counts 1 and 2 because of the existence of

“contrary defenses.”      (Def. Br. at 5.)       The Supreme Court has

held that Rule 14 does not require severance as a matter of law

when defendants present “mutually antagonistic defenses.”                United

States v. Zafiro, 506 U.S. 534 (1993).           Instead, in such

circumstances the tailoring of relief to be granted, if any, is

left “to the district court’s sound discretion.”             Id. at 539.

      Mutually antagonistic defenses are those where the defenses

conflict “to the point of being irreconcilable and mutually

exclusive.” United States v. Provenzano, 688 F.2d 194 (3d Cir.

      13
       That here, unlike in Rubio, one defendant may attempt to
shift blame to a co-defendant does not change the determination
that the statement is not by itself powerfully incriminating.

                                       23
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05    Page 24 of 26 PageID: 268



1982) (quoting United States v. Crawford, 581 F.2d 489, 491 (5th

Cir. 1978)).

      “[M]utually exclusive defenses . . . exist when
      acquittal of one codefendant would necessarily call for
      the conviction of the other.” This type of situation
      arises “when one person’s claim of innocence is
      predicated solely on the guilt of a co-defendant.” In
      determining whether mutually antagonistic defenses
      exist such that severance may be required, the court
      must ascertain whether “the jury could reasonably
      construct a sequence of events that accommodates the
      essence of all [parties’] defenses.”

United States v. Voigt, 89 F.3d 1050, 1094 (3d Cir. 1996) (citing

references omitted).      “[C]ourts have consistently held that

finger-pointing and blame-shifting among coconspirators do not

support a finding of mutually antagonistic defenses.”                Id. at

1095 (citing Provenzano, 688 F.2d at 198).              Indeed, as the Court

of Appeals has indicated, “[s]ince Zafiro, claims based on

mutually antagonistic defenses have usually been found

insufficient to warrant severance without a strong showing that

such specific rights were impaired.”          United States v. Balter, 91

F.3d 427, 433 (3d Cir.), cert. denied, 519 U.S. 1011 (1996).

Further, the Balter opinion noted, it was aware of no cases

reversing the denial of severance on the ground that one co-

defendant might become a “second prosecutor” of another alleged

co-conspirator at trial.       Id. at 434.

      Here, defense counsel have not offered mutually antagonistic

defenses likely to impair any specific trial right or prevent the

jury from making a reliable determination of guilt or innocence.

                                       24
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05   Page 25 of 26 PageID: 269



Counsel for Defendant Clinton Van Berry will put forth an

innocence defense, arguing that Mrs. Van Berry took advantage of

her husband’s position as tax collector and perpetrated the

robbery without his knowledge.         Mrs. Van Berry has not revealed

her theory of defense, so one cannot ascertain that there is

mutual antagonism between co-defendants requiring severance.

Even though Clinton Van Berry’s defense “puts [Mrs. Van Berry] in

a very unfavorable light,” (Def. Br. at 6,) it will not

“compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or

innocence.” Zafiro, 506 U.S. at 539.          It amounts to nothing more

than finger-pointing by one alleged co-conspirator against

another.    To the extent it is based upon testimony of witnesses,

Mrs. Van Berry will have ample opportunity for cross-examination

and rebuttal.     The presumption of a joint trial for co-

conspirators is significantly stronger than any prejudice to Mrs.

Van Berry arising from this joint trial with her husband, or vice

versa.    Such finger-pointing does not warrant severance.

      For all of the above reasons, Defendants will be tried

jointly as to Counts 1 and 2.




                                       25
Case 1:04-cr-00269-JBS   Document 54   Filed 05/18/05    Page 26 of 26 PageID: 270



III. CONCLUSION

      Defendants here have been charged with:             (a) conspiracy and

attempt to obstruct commerce through robbery (Counts 1 and 2);

and (b) bribery and conspiracy to commit bribery concerning a

federally funded program (Counts 3 and 4).              Because joinder of

Counts 1 and 2 with Counts 3 and 4 is improper under Rule 8, the

counts will be severed and there will be two separate trials.14

The motions for severance of Defendants on Counts 1 and 2 will be

denied.    The accompanying Order is entered.




May 18, 2005                                s/ Jerome B. Simandle
Date                                        JEROME B. SIMANDLE
                                            U.S. District Judge




      14
       The trial herein is scheduled for Monday, June 13, 2005.
Due to the severance, the United States may elect whether it will
first proceed with Counts 1 and 2 or with Counts 3 and 4 by
giving notice within 7 days hereof.

                                       26
